     Case 1:17-cv-00493-JAO-RT Document 67-1 Filed 07/12/19 Page 1 of 2                                PageID #: 748
HID 007A (Rev.02 /14) Declaration of Counsel

                                          UNITED STATES DISTRICT COURT
                                                                for the
                                                         District of Hawaii

Chelius et al.                                                      )
                                                                    )
                                 Plaintiff
                                                                    )                       1:17-cv-00493-JAO-RT
                                                                                             ---------------
                                                                             Case No.
                                    ''·                             )
                                                                    )
Azar et al.                                                         )
                                                                    )
                                Defendant                           )
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                                                   DECLARATION OF COUNSEL
                                               (Attach to Motion to Appear Pro Hae Vice.)

 Name ofDeclarant: 1Rachel Reeves
 I am not a resident of the District of Hawaii, am not regularly employed in the District of Hawaii, and am not regularly
 engaged in business, professional or law-related activities in the District of Hawaii, and that:

     I. The city and state of my residence and office address is:
         125 Broad Street, I 8th Floor
         New York, New York 10004


     2. I have been admitted to practice in the following courts on the dates noted:
        New York State Appellate Division, First Deparlmenl (04/22/19) #5686613




     3. I am in good standing and eligible to practice in the following courts (declarant may state "All of the courts
        identified in paragraph 2"):
         All of the courts identified in paragraph 2




     4. I (a) am not cmTently involved in disciplinary proceedings before any state bar, federal bar, or any equivalent;
        (b) have not in the past IO years been suspended, disbarred, or othetwise subject to other disciplinaiy proceeding
        before any state bar, federal bar, or its equivalent; ( c) have not been denied admission pro hac vice by any comt or
        agency in the past 10 years; and (d) have not been the subject ofa criminal investigation known to the attorney or
        a criminal prosecution or conviction in any court in the past ten (IO) years.
         Yes
Case 1:17-cv-00493-JAO-RT Document 67-1 Filed 07/12/19 Page 2 of 2   PageID #: 749
